FiEl in this information to identify your case:

 

United States Bankruptcy Court for the:

NORTHERN DISTRECT OF CAL[FORN]A

 

Case number rirknown) Chapte: 11

 

l:_l Checlc if this an
amended filing

 

 

Ofiic:ial Form 201
Voluntary Petition for Non-lndividuals Filing for Bankruptcy 4116

 

|f more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, instructions for Bankruptcy Forms for Non-Individual‘s, is availab|e.

?. Debtor's name Great Vista Reai Estate investment Corporation

 

 

2. All other names debtor
used in the last 8 years

lnc|ude any assumed DBA She!by Luxury Properties, |nc.

namesl trade names and
doing business as names

 

3. Debtor's federal
Employer |dentification 27~2133365

 

 

 

 

 

 

 

 

Number (E|N)
4. Debtor's address Principai place of business Maiiing address, if different from principal place of
business
126 Atherton Avenue
Atherton, CA 9402?
Nurnber, Street, City, State & Z|P Code P.O. Boxl Number, Street, City, State & ZIP Code
San Mateo Location of principal assets, if different from principal
Cgunty place of business
Numberl Street, Cityl State & ZlP Code
5. Debtor's website (URL)
6- TYPB °fdeb*°’ l corporation {§noiuoing Limiteol l_iability company (LLC) and Limitoo inability Ponnorsnip (:_LP))

|:l Partnership (excluding LLP)
l:l Ot§ier. Specify:

 

 

Case:18-30032 Doc# 1 Filed: 01/10/18 Entered: 01/10/18 17: 51: 28 Page 1 of 39
Ofticial Form 201 Vo luntary Petition for Non- [ndividuais Fi|ing for Bankrupt cy page 1

 

 

 

Debfoi Great Vista Reat Estate investment Corporation CBSE numbet {ffimown)
Nama
7. Describe debtor's business A. Check one.'

l:i i-iea§th Care Business (as defined in 11 U.S.C. § 101(27/\))
l Sing|eAsset Reai Estate (as defined in 11 U.S.C. § 101(51B))
l:! Raiiroad {as defined in 11 U.S.C. § 101{44))

l:] Stockbroker(as defined in 11 U.S.C. § 101(63A)}

ill Commodity Broker (as defined in 11 U.S.C. § 101(6))

i;l Ciearing Bank (as defined in 11 U.S.C. § 781(3))

l;l hione of the above

B. Check ali that apply
1:| Tax-exempt entity (as described in 26 U.S.C‘ §501)

l investment company, including hedge fund or pooled investment vehicle {as defined in 15 U.S.C. §80a»3)
ij investment advisor (as defined in 15 U.S_C_ §80b-2(a)(11})

C. NA|CS (North Amer§can industry Classification System) 4~digit code that best describes debtor.
See httD://www.uscourts.qov/four-dioit-national-association-naics-codes.

 

 

 

 

8. Under which chapter of the Ctieck one:
Bankruptcy Code is the
debtor fiiing? ':' Chapter 7
\:i Chapter 9
l Chapter11. Check atf that appiy:
l:i Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
are less than $2,566,050 (amount subject to adjustment on 4.'01/19 and every 3 years after that).
l:l The debtor is a small business debtor as defined in 11 U,S.C. § 101(51D). if the debtor is a small
business debtor, attach the most recent balance sheet, statement of operations cash-flow
statement, and federal income tax return or if all of these documents do not exist, follow the
procedure in 11 U.S.C.§ 1116(1)(B).
ij A plan is being filed With this petitionl
|:1 Acceptances of the plan Were solicited prepetition from one or more classes of creditors, in
accordance With 11 U.S.C.§1126(b).
i:i The debtor is required to file periodic reports (for exampie, 1OK and 100} with the Securities and
Exchange Commission according to § 13 or 15(d) of the Securz'ties ExchangeAct of 1934. Fiie the
attachment to Voluntary Peti‘ti'on for iven-individuals Filing for Bankruptcy under Chapter 11
(Official Form 201A) with this form.
L_.] The debtor is a shell company as defined in the Securities Exchange Actof1934 Rule 12b-2.
i:l Chapter 12
9. Were prior bankruptcy j No
cases filed by or against '
the debtor within the last 8 l:l Yes,
years?
if more than 2 cases, attach a _ _
Separaf@ list District When Case number
District When Case number
10. Are any bankruptcy cases - NO
pending or being filed by a
business partner or an i:| Yes.
affiliate of the debtor?
List atl cases. if more than 1, _ _
attach a separate list Debfor Relat'@"$hip
District When Case number, if known

 

Officia| Form 201

CaSe: 18-30032 DOC# 1 Fl|ed: 01/10/18 5|5|£\1€|’§(1\'3&0“1'|(./1§)€/§|_8 17251:28 Page 2 Of 39

Voluntary Petition for Non~individuai or page 2

ing rup

 

Case nu mber (irknown)

 

Debtor Great Vista Real Estate investment Corporation
Name
11. Why is the case filed in Check aii that appiy.'

this disfr.ict?

 

- Debtor has had its domicilel principal place of business, or principal assets in this district for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other districtl

i:l A bankruptcy case concerning debtor's affiliate, general partnerl or partnership is pending in this district

 

12.

Does the debtor own or
have possession of any
real property or personal
property that needs
immediate attention?

- No
|:i Yes.

Why does the property need immediate attention? (Check ali that appiy.)

Answer below for each property that needs immediate attention. Attach additional sheets if neededl

ij it poses or is alleged to pose a threat of imminent and identifiabie hazard to public heaith or safety.

What is the hazard?

 

ij lt needs to be physically secured or protected from the weather.

1:[ it includes perishable goods or assets that cou§d quickly deteriorate or lose value Without attention (for examp|e,
livestock, seasonal goods, meatl dairy, producel or securities~reiated assets or other options).

ij Other

 

Where is the property?

is the property insured?
[l No
l“_“| Yes_ insurance agency

Contact name
Pnone

 

Number, Street, City, State & ZiP Code

 

 

 

 

_ Statisticai and administrative information

13.

 

Debtor's estimation of
available funds

Check one.'

- Funds wiii be available fof distribution to unsecured creditors

i:l After any administrative expenses are paid, no funds will be available to unsecured creditors.

 

 

14- Esfif{la'€ed number of l 1-4'9 l:i 1,000-5.000 ij 25,001-50,000
cred't°rs g 50_99 iii 5001-10,000 iii 50,001-100,000
ij 100_199 iii 10,001~25,000 iii Nloro inanloo,ooo
i:i 200-999
15- Esfimafed Assets i___i $0 ~ $50,000 iii sl,ooo,ool - sic million ill $500,000,001 - s1 billion

ill sso,ool - $100,000
iii sloo,ool - $500,000
|Zi $500,001 - $1 million

l $10,000,001 - soo million
Ei sso,ooo,ool - $100 million
EJ sloo,ooo,ool - $500 million

iii $1,000,000,001 - $10 billion
Ei slo,ooo,ooo,ool - $50 billion
|:i Nlore than $50 biliion

 

16`.

Estimated liabilities

iii $0 - $50,000

iIi sso,ool » sioo,ooo
iii $100,001 - $500.000
i:i $500,001 ~ $1 miliion

iii $1,000,001w sic million

l $10,000,001 - $50 miliion
|Ii $50,000,001 - $100 million
|Ii $100,000,001 - $500 million

|Il $500,000,001 - $1 billion

ij $i,ooo,ooo.ooi -$10 billion
iIi $10,000,000,001 - soo billion
m i\iiore than $50 billion

 

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Otiiciai Form 201

Voluntary Petition for Non-individua|s Filing for Bankruptcy

page 3

 

Deb*°" Great Vista Reai Estate investment Corporation Ca=zs number (ill¢nown)
blame

 

! Rssll.e~°»ff°r,Sslfefi.i?!e¢!setis"l ansisfsrntvr@s

WARN|NG -- Ban|<rupicy fraud is a serious orime. Making a false statement in connection With a bankruptcy case can result in does up to $EOU.DGG or
imprisonment for up to 20 years, or boih. 18 U.S.C. §§ 152,1341, 1519, and 3571.

'i'T. Deciaratton and signature .
of authorized The debtor requests reille in accordance with the chapter aftitie 11, United Siates Code, specified in this petition
representative of debtor
l have been authorized to file this petition on behalf ofthe debtor.
l have examined the information in this petition and have a reasonable belief thatthe information is trued and correct
I declare under penalty of perjury that the foregoing is true and correct

Executed on ..lanua 10,2018

 

_Kii_l\!l l DD l YYYY
X A ._ . Tsai Luan i-io (ai<a Sheiby i-io)
Signaturb'of'ai.lt¥lorized reptesenfative of debtor Printed name
TltIB CEO

 

a

F\ l.
' X W M!M. Date January 10, 2018
18. Sl nature of attorney .,a./ !_,
g Sig ure of attorney for debtor / " iV|ii/i i DD i YYYY
` - J l;rlies Andrew Hinds, Jr. 71222
Ph"hted name

HiNDS & SHANKMAN, LLP
Firm name

 

 

Number. Street, City. State & ZiP Code

Contact phone Email address

 

71222
Bar number and State

 

Ofticiai Form 29135€: 18_30032 legigri€af|`y Peii:tii|)%qdrQt|>'li-:i'riocd\:ii§ualsliz=idi[iegIf§rdi?;anii|i'il%t(?:iilg 17:51:28 Page 4 Of 39 page4

 

United States Bonkrllptcy Court
distillers Pistri¢trt` Csiif<»."sia .. ,

In re Great Vista Real Eetate investment Corporatlon CrlS¢NOl ___~_m____.,_,_lm.\.._m_m__
chir)t(s) Chapbor __11_

STATEl\/[ENT REGARD]NG AUTHORITY TO SIGN AN]) F]LE PETITION

l, rear Luan Ho take shelby Hc), declare under penalty of perjury that l amthe csc of creatv:sta near restate
tnvestment Corporation, and that the following is a two and correct copy ofthe resolutions adopted by the Board
ofDircctors of said corporation et a special meeting duly called and hold on the IOth day of Ianuary, 2018.

“Wherces, it is in the best interest cf this corporation to tile a voluntaly petition in the Unitcd Statcs
Banl<ruptcy Court pursuant to Chaptcr ll of ’l`itlc ll ofthe Unitcd Statcs Codc;

Bc lt Therct`cre Rcsolvcd, that Tsai Luan Ho {aka Shelby Ho}, CEO of this Colporation, is authorized and
directed to execute and deliver all documents necessary to perfect the filing of a chapter 11 Voluntary
bankruptcy case on behalf ofthe coworation; and

Be lt Furthcr Rcsolvcd, that reel Luan Ho (aka enemy He}, GEO of this Corporetion is acthorized and
directed to appear in all banlnnptcy proceedings on behalf ofthe corporation end to otherwise do and perform
all acts and deeds and to execute and deliver all necessary documents on behalf of the corporation in connection

With such bankruptcy oosc, and

Bc lt ]:"`urthcr Rcsolvcd, that Tsai man Hc (aka Shelby Ho), CEO of this Corpcration is authorized and
directed to employ lemos Andrcw Hinds, Paul R. Shankman, and Rachel M. spasato, attorneys and thc law finn of

HlNDs s SHANKMAN, Ll.P to represent the corporation in such b§cojtcy csse."

pate January 10, 2018 gigle 5 ,_,. a
Tsal`i_uan Ho (aka Sheiby l-lo), CEO

Software chyrighl (c) 1938-2017 Best Case. hi.G »\\W.b€stcwso.ccm Best Csss Bnnt<mplcy

case 12-30039 nnp#1 r:nps-ol,/lo/ls Entereo:.~ol/lo/ls17:51:23 Pagesor 39

 

 

Resolution of Board of Dil'ectors

of
' 'Gre'at Viet'a Real Eetate‘l'hv'é`§tment Goépo\;atle\i""

Whereas, it is in the best interest of this corporation to tile avoluntary petition in the the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

Be lt Therefore Resolved, that Teai Luan Ho {aka Shelby He), cEO of this Colporation, is authorized and
directed to execute and deliver all documents necessary to perfect the iiiing of a chapter 11 voluntary
banlo'uptcy ease on behalf of the corporation; and

Be lt Further Resolved, that 'rsai Luan He {aka shelby He), eeo ofthis Corporation is authoiized and
directed to appear in all bankruptcy proceedings on behalf of the coiporatlon, and to otherwise do and perform
all acts and deeds and to execute and deliver all necessary documents on behalf of the corporation in connection
With such bankruptcy case, and

Be lt Further Resolved, that tsai men Ho (aka shelby Ho), ch ofthjs Corperation is authorized and
directed to employ Jatnes Andrew Hinds, Paul R. Shenkman, and Rao]:lel M. Sposato, attorneys, and the law inn

of HlNDS & SHANKMAN, LLP to represent the corporation in sach§jptcy case

Q~ -.--. 0
Tsai Luan Ho (akal Shelby Ho), GED

Date danuary 10, 2013 , Sign€d

 

Date Signed

 

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Case: 18-30032 DOC# 1 F_i_led: 01/10/18 Entered: 01/10/18 17:51:28 Page 6 of 39

 

 

Fli! in misinformation to identify the casr.>:

Debtor name Great Vista Real Estate |nvestment Corpor'atlon

Unilad Sfaias Banki'lipicy Colirffoi‘ihe: NORTHERN D|STR]CT OF CAL]FORN|A

Caee number {lf known)
i'_`f Cheoi< if_ihie is an

amended filing

 

 

Officia! Form 202
Declaration Under Penaity of Perjury for Non~lndividua| Debtors we

An individual who ia authorized to act on behaif of a non~[ndtviduai debtor, such as a corporation or partnership, must sign and submit this
form for the scheduies of assets and liabilll:ies, any other document that requires a declaration that is not included in the document and any
amendments of those documents. 'i'hie form must slate the incilvidual’e position or relationship to the debtor, the identity of the documentt

and the date. Bankruptcy Rules 1008 and 90'|1.

WARNING -- Banlcrupfcy fraud is a serious crime. Making a false sit:zitelrni.=.\ni;l concealing property, or obtaining money or property by fraud |n
connection with a bankruptcy ease can result in Fines up to $500,000 or imprisonment for up to 20 years, or both. 13 U,S.C. §§ 152, 1341,

1519, and 3571.

- Declaratlon and signature

i am the president another oilicsr. or an authorized agent of the oorporation; a member crain authorized agent of the partnership; or another
individual serving as a representative of the debtor in this case.

 

§ have examined the inion'oai|on |n the documents checked below and l have a reasonab!e beliefthaf the information is true and correct

Sohediiia A/B: Asoets-Real and Parsonal Property {Offieial Form EOBNB)
Sohedu!e D: Credi`tors Wbo Have C!ar'ms Secureci by Properfy (Othclai Form QOBD}
Scheduie EJF: Credi'tors Who Have Unsecureo' Claims (Oiiicla| Form ZGSE!F)
Soheduie G.' Executory Coniracis and Unexpired Leases (Ofllolal Form ZOSG)
Sohedule H.' Codebior:s {Oi‘iicial Form ZEBH)

Summa.ry ofAssets and liabilities nor iven-individuals (Oii°ioiel Form ZUSSum)

Amended Sobedule
Chapter 11 or Chapfer 9 Sases.' i.l'st of Crea‘itors lane Have the 20 Largest Unseoured Cleims and Are Not insiders {Otiiolal Form 204)

Other document that requires a deciaretion

§ declare under penatty of perjury that the foregoing ie@$ f g
Executed bn January 10, 2018 X 1 --

Slgnature of individual slgning on behalf ofdebfor

 

fill:|llllll

 

?eai Luan Ho {ai<a Shaiby l-io]
F’rlnied name

CEO
Pc>sltinn or relationship to debtor

Ofiicia| Form 202 Dec[arat|on Under Penalty of Perjury for dion-individual Debtors

Sntlwarn Copyrighl (c} 1995-2017 Besl usse. LLO umw.bastceaa.cem Besi Casa Banlmip\ey

CHQP' 18-30037 DO(‘# '| Fi|pfi' 01/'|0/18 Entered: 01/10/18 17251228 Pag€ 7 Of 39

 

 

 

Fi|i in this information to identif the case:

Debtor name

Great Vista Rea| Estate investment Corporation

 

United States Bani<ruptcy Court for the:

CAL|FORNlA

NORTHERN D|STRICT OF

 

Case number (if known):

 

 

Oflicia| Form 204
Chapter 11 Or Chapter 9 Cases: Lisi: of Creditors Who Have the 20 Largest Unsecured Claims and

Are Not insiders

|;l Check if this is an

amended filing

12i15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. include claims which the
debtor disputes. Do not inciude claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Aiso, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured ciaims.

 

Name of creditor and _
complete mailing addre_ss,
including `zip code

_Narne, telephone number
and emaii address Of :_ "
creditor contact

Nature of claim
(for- exampie, trade

- . debts, bank ioans,

indicate if claim
- is contingent,
lunii_quidated, or_

Amount of claim "`- ' ` '
|fthe claim is fully unsecured fl

il in only unsecured claim amount if
claim is partially secured, fill in totai.cia_im amount and deduction for .

 

 

 

 

 

 

 

 

 

 

 

 

 

 

professional services, disputed :` '_ value of collateral or setoff to calculate unsecured ciaim.
'End lioVETflme|'it ' ' ' - Tota| ciaim, if Deduction for value Unsecured claim
' CO"\iFaCiS) ` f . ` partially secured of collateral or setoff
Burke, Wiliiams & Lega| Fees and Uniiquidated $1.00
Sorensen, LLP Costs
E|izabeth iii|. Pappy,
Esq.
1503 Grant Road,
Suite 200
iiiiountain View, CA
94040
DF| Technologies, Residential Singie $100,000.00 $9,500,000.00 $100,000.00
LLC Famiiy Residence
P.O. Box 340759 126 Atherton
Sacramento, CA Avenue
95834 Atherton, CA
94027
Escrow for Saie
Pending subject
to Bankruptcy
Court Approvai
and Over
DF| Technoiogies, Residentiai Singie $57,000.00 $9,500,000.00 $57,000.00
LLC Famiiy Residence
P.O. Box 340759 126 Atherton
Sacramento, CA Avenue
95834 Atherton, CA
94027
Escrow for Sa|e
Pending subject
to Bankrupi:cy
Court Approvai
and Over
Dykema Gossett Attorney's Fees $359,000.00
LLP
333 S. Grand Ave.,
#2100
Los Angeies, CA
90071
Ofnciai form 204 Chapier 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largesi Unsecured claims page 1

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Best Case Bankruptcy

Case: 18-30032 DOC# 1 Filed: 01/10/18 Entered: 01/10/18 17:51:28 Page 8 of 39

 

Debtor
Name

Great Vista Real Estate investment Corporation

Case number (ffknown)

 

 

Name of creditor and
complete mailing address,
including zip code

Name, telephone number
and emai_i address of -
credito_r:c_ontact

Nal:ure of claim
(for example. trade

.` debta, bank loans.
- professionalservices,

indicate if claim
is contingent,

unliquidated, or

disputed

Amount of claim

lfthe claim is fully unsecured, fill in only unsecured claim amount lf
claim is partially secured, nil in total ciaim'amount and deduction for

- value of collateral or setoff to calculate unsecured claim.

 

 

 

 

 

 

 

 

 

 

 

 

 

Total ciaim, if Deduction for value Unsecured claim
_ partially secured of collateral or setoff
Law Office of Attorney's Fees Continger:t $1.00
Richard Wahng Unliquidated
152 Anza Street, Disputecl
#201 Subject to
Fremont, CA 94539 Setoff
Law Offices of $27‘1,623.93
George Eshoo
702 Marshai| Street,
#500
Redwood City, CA
94063
Mercedes Benz Early Terminatlon Contingent $1.00
Financial Services of Lease - Vehicle Unliquidatecl
P.O. Box 685 Surrendered - Disputed
Roanoke, TX 76262 Mercecles Benz Suhject to
_ 2016-563V4 Setoff

YCJS 2012 LLC Residential Single Contingent $1,230,000.00 $9,500,000.00 $630,792.40
13566 Toni Anne Family Residence Unliquidated
Place 126 Atherton Disputed
Saratoga, CA 95070 Avenue

Atherton, CA

94027

Escrow for Sa|e

Pending subject

to Bankruptcy

Court Approvai

and Over
Ofticial form 204 Chapter 11 or Chapter 9 Cases: i_ist of Creditors Who Have the 20 Largest Unsecured claims page 2

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Besl Case Bankruplcy

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Fi|l in this information to identify the case:

Debtor name Great Vista Real Estate investment Corporation

 

Unifed States Bankruptcy Court for the: NORTHERN DlSTRlCT OF CALlFORNIA

 

Case number (if known)

 

|:| Check if this is an
amended filing

 

 

Official Form 2068um _
Summary of Assets and Liabilities for Non-lndividuals 12115

 

 

Summary of Assets

1. Schedule A/B: Assets-Rea! and Personal Property (0fiicia| Form ZOBA}B)

1a. Rea| property:
Copy line 88 from Schedule A/B ............................................................................................................................. $ 91500’000'00

1b. Total personal property:
copy line 91A from Schedure A/B ......................................................................................................................... $ 21714’225-43

ic. Total of all property:
Copy line 92 from Scheduie A/_B ........................................................................................................................... $ 12=214¢225-43

Summary of Liabilities

2. Scheduie D: Creditors Who Have Claims Secu.red by Property (Official Form ZOBD)
Copy the total dollar amount listed in Column A, Amount ofclar'm, from line 3 cf Schedule D 5 10’237»792'40

3. Schedule E/F: Credr'tors Who Have Unsecured Clar'ms (Of'ticial Form ZGGE/F)

3a. Total claim amounts of priority unsecured claims:
Copy the total claims from Part 1 from line 53 of Schedule E/F .......................................................................... $ 0-00

3b. Total amount of claims of nonpriority amount of unsecured claims:
Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F ................................................ +$ 630’626'93

 

4. Total liabilities .......................................................................................................................................................
Line52+3a+3b $M

 

 

 

Otncial Form ZOGSum Summary of Assets and Liabilities for Non-lndividua|s page 1

S°“Wa‘e€°c”éi§§):iii%z?§di§*§§iLLt§d"é"#eiFs‘i‘“l“-"lled: 01/10/13 Entered: 01/10/13 17:51:28 Page fd“§§`ie§a§“m'“°y`

 

Fill in this information to identify the case:

 

Debtor name Great Vista Real Estate investment Corporation

l_lrlited States Bar'lkruptcy Ccurt for the: NORTHERN DlSTRlCT OF CALIFORNIA

 

Case number (ii‘ known)

 

I“_'[ Check if this is an
amended filing

 

Official Form 206A/B
Schedule AIB: Assets - Real and Personal Property ms

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
include all property in which the debtor holds rights and powers exercisable for the debtor‘s own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. in Schedu|e AIB, list any executory contracts
or unexpired leases. Also list them on Schedule G.' Executory Contracts and Unexpiired Leases (Official Form 206G).

 

Be as complete and accurate as possible. if more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Aiso identify the form and line number to which the additional information applies. lf an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
Scheduie or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. in vaiuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.

Cash and cash equivalents

1_ Does the debtor have any cash or cash equivalents?

 

E| No. soto Pan 2.

l Yos Fiii in ins information beiow.

Al| cash or cash equivalents owned or controlled by the debtor Current value of
debtor's interest

3. Checking, savings, money market, or financial brokerage accounts (!denti'ij/ ah‘)
Name of institution (bank or brokerage firm) Type of account ]_ast 4 digits of account
number
Chase Bank
2977 Woodside Road
3.1. Woodsid@, CA 94052 Checking 0598 $95.00

 

4_ Other cash equivalents (ldentify ali')

 

' 5. Total ofPari1. $95.00
Add lines 2 through 4 (inc|uding amounts on any additional sheets). Copy the total to line 80.

 

 

 

Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

 

l No. co io Pan 3.
ij Yes Fiil in the information below_

Accounts receivab!e
10. Does the debtor have any accounts receivable?

 

l No. co io Pari4.
|:i Yes Fill in the information below.

investments
13. Does the debtor own any investments?

l No. co to Part 5.
l:l Yes Fill in the information below.
Official Form ZOGA/B Schedu|e A)'B Assets - Real and Persona| Property page 1
s Case Ban|<rupioy

S°‘“”"”eC°t§"§”é‘°e’:‘§i§§?§be€)`§a§@'LL°D“€>”§”L?S`:iiEE'““iL-"iied: 01/10/13 Entered: 01/10/1817:51:28 Page llBoi

 

Debtor Great Vista Real Estate investment Corporation Case number (rrknown)

 

Nan‘ie

|nventory, excluding agriculture assets
1B. Does the debtor own any inventory (excluding agriculture assets)?

l No. co to Pan s_
l:l Yes Fill in the information below.

Farming and flshing~related assets (other than titied motor vehicles and land)
27. Does the debtor own or lease any farming and fishing~related assets (other than titled motor vehicles and land)?

‘ No. Go to Part 7.
l:i Yes Fill in the information below.

Office furniture, fixtures, and equipment; and collectib|es
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

l No. co to Part e.
[:l Yes Fill in the information below.

Niachinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

l No. co to nan e.
ij Yes Fill in the information below.

_ea'pmpmy l
54. Does the debtor own or lease any real property?

l:l No. Go to Part10.
l Yes Fili in the information below.

55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
Description and location of Nature and Net book value of Valuation method used Current value of
property extent of debtor's interest for current value debtor's interest
include street address or other debtors interest {Where availab|e)
description such as Assessor in property

Parcel Nurnber (APN}, and type

ot property (for example,

acreag:ir-.‘-l factory, warehouse

apartment or office building, if

available.

55.1. Residential Single
Family Resic[ence
126 Atherton Avenue
Athertorl, CA 94027

Escrow for Sale
Pending subject to
Bankruptcy Court

Approvai and
Overbid Procedures. Fee Simple $9,500»000~00 NIA

$9,500,000.00

 

 

56. Total of Part 9.
Add the current value on lines 55.1 through 55.6 and entries from any additional sheets

 

$9,500,000.00

 

 

Copy the total to line 88.
Official Form ZGGA/B Schedule A/B Assets - Reai and Personai Property

page 2

S°““’aric°t¥d‘él§:‘iii§°-§ifd§"?itcobt'irsti'i°'°i‘fiied: 01/10/13 Entered: 01/10/13 17:51:28 Page lzBéiC§i§Ea“““ip‘°"

 

Debtor

57.

58.

 

 

Great Vista Real Estate investment Corporation Case number {rrknown}
Name

is a depreciation schedule available for any of the property listed in Part 9?

- No

[;l Yes

Has any of the property listed in Part 9 been appraised by a professionai within the last year?

l No
L__l Yes

 

Part 102 intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?

- No. Goto Part11.
l:l Yes Fi|l in the information below.

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
include all interests in executory contracts and unexpired leases not previously reported on this form.

 

l:l No. co to Pariiz
l Yes Fiii in the information below

 

 

Current value of
debtor's interest

 

 

 

 

 

71. Notes receivable
Description (include name of obligor}
72. Tax refunds and unused net operating losses (NOL.s)
Description (io;‘ examp|e, federa|, state, local)
73. interests iri insurance policies or annuities
74. Causes of action against third parties (whether or ncta lawsuit
has been filed)
Claims for fraud and conversion of over $2,714,130.48
from Benny James Kirk, 24040 CAM[NO DEL AVlON STE
A156, DANA PO|NT, CA 92629-4005 from a refinance of
the real property of the Debtor. Damages incurred
between 2014 and 2016. $2»7141130-48
Nature of claim Fraud and Conversion
Amount requested $2,714,130.48
75. Other contingent and unliquidated claims or causes of action of
every nature, including counterclaims ot the debtor and rights to
set off claims
76, Trusts, equitable or future interests in property
77. Other property of any kind not already listed Examples: Season tickets,
country club membership
78. Total of Part 11. $2,714,130‘43
Add lines 71 through 77. Copy the total to line 90.
79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
. No
l:l Yes
Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 3

S°“`”i`“ic° Bhé@?iie§?§lfd§iéiLLb“é““éiiitii‘i‘“if“iied: 01/10/13 Entered: 01/10/13 17:51:28

Pag e 13 Bce)sf C§§ Baril<rupicy

 

Debtor

Great Vista Real Estate investment Corporation

Case number (ifknown)

 

Name

Part 12: Summary

ln Pa__rt__ _12 copy ali of the totals from the earlier parts of the

BO.

81.
BZ.
.83.
84.
85.

86.

87.
88.

89.

90.

91.

92.

Official Form ZOGA/B

 

 

   
 
 

j-Ty`P

Cash, cash equivalents, and financial assets.
Copyli`ne 5, Part 1

Deposits and prepayments. Copy line 9, Part 2_
Accounts receivable. Copy line 12, Part 3.

lnvestments. Copyli'ne 17, Part 4.

|nventory. Copy line 23, Part 5.

Farming and fishing-related assets. Co,oy line 33, Part 6.

Office furniture, fixtures, and equipment; and collectibies.
Copy line 43, Part 7.

l‘l.l|achinery, equipment, and vehicles. Copyli'ne 51‘, Part 8.

Real property. Copyii'ne 56, Part 9

intangibles and intellectual property. Copy line 66, Part 10.

All other assets. Copy line 78, Part 11.

fqim .

 

 

 

 

Current value_of-
. personal property .

$95.00

$o.oo
$0.00
$0.00
$0.00

$0.00

$0.00

$0.{)0

$0.00

$2,714,130.48

Current value `of_ real _'_ .

property

 

 

$9,500,000.00

 

 

 

 

Tota|. Adc| lines 80 through 90 for each column

 

$2,714,225.48

 

+91b.

 

$9,500,000,00

 

 

 

Total of all property on Scheduie Ai'B. Add lines 91a+91b=92

 

 

$12,214,225.48

 

 

Schedule A/B Assets - Real and Personal Propeity

page 4

S°“`”i"iE°t“j*§l`§e?g?t§°-iéitil§a§i'LL“D“é”“éiii‘fiiie'°‘lEiied: 01/10/13 Entered: 01/10/13 17:51:28 Page 14355 C§i§Bi"“'“p‘°”

 

Fill in this information to identify the case:

Debtor name

Great Vista Real Estate investment Corporation

 

United States Ban|<ruptcy Court for the: NORTHERN DlSTR|GT OF CAL|FORN|A

 

Case number (if known}

 

l:[ Check if this is an
amended nlan

 

 

Official Form 206D

Schedule D: Creditors Who l-iave Claims Secured by Property 12115

Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
l:l No. Check this box and submit page 1 of this form to the court With debtors other schedules Debtor has nothing else to report on this form.

l Yee. Ffii in oil or the information oeiow.
m List Creditors Who Have Secured Claims

2. List in alphabetical order all creditors who have secured claims. if a creditor has more than one secured
claim, list the creditor separately for each claim.

Colurnn A Column B

Amount of ciaim Vaiue of collateral

 

 

 

 

 

 

 

 

 

 

 

 

 

that supports this
Do not deduct the value claim
of collatera|.
2 j County of San Nlateo Tax
‘ Co]{ector Describe debtor's property that is subject to a lien $190,705-10 $9,500,000~00
Credito'“$ Name Residentia| Single Family Residence
126 Atherton Avenue
Atherton, CA 94027
Escrow for Sa|e Pending subject to
Bankruptcy Court Approvai and Overbid
Redwood City, CA 94063 t
Creditors mailing address Describe the lien
Tax lien
taxmaster@co_sanmatgo_c lS tile Cl'edlfOl' an insider Dr related parf;y?
a.us l NO
Creditors small addressl ii known jj Ye_e,
ls anyone else liable on this claim?
Date debt was incurred l NO
2016-2018 l;l Yes. Fill out Schedule H: Codei)tors (Oincial Form ZDSH}
Last 4 digits of account number
Great Vista Real Estate
Do multiple creditors have an As of the petition filing date, the ciaim is:
interest in the same property? Check atl that appiy
ill rio 33 contingent
- Yes. Specify each creditor, § Unliquldaied
including this creditor and its relative cl Disputed
priority.
1. County of San Mateo Tax
Collector
2. DF| Technologies, LLC
3. Hsing -Chieh Shlh
4. Phyllis Shih
5. Redwood lll'|ortgage PLM
6. YCJS 2012 LLC
7. DFl Technologies, LLC
8. DF| Technologies, LLC
DF| Techno|ogies, LLC Describe debtors property that is subject to a lien $250,000.00 $9,500,000.00

 

Official Form 206D page 1 of 5

mileC°€Z‘§'§i§?:‘gii§?§€fd§i§iLLb“é““é’fBistiii'°l'-‘iieo: 01/10/13 Entered: 01/10/13 17:51:28 Page lsBc`iiC§i§Bi“““'““"

Schedu|e D: Creditors Who l-iave Claims Secured by Property

 

Debtor

Great Vista Real Estate lnvestment Corporation

Case numbetr (rri<now)

 

 

Name

 

Creditors Name

P.O. Box 340759
Sacramento, CA 95834

Residentia| Single Family Resldence
126 Atherton Avenue
Atherton, CA 94027

Escrow for Sa|e Pending subject to
Bankruptcy Court Approvai and Overbid
Procedures.

 

 

Creditors mailing address

oavio@dfitooh_oom

Descrlbe the lien

2nd Trust Deed

 

 

Creditors small addressl lf known

Date debt was incurred

612/2016
Last 4 digits of account number
Great Vista Real Estate

Do multiple creditors have an
interest in the same property?

l:lNo

- Yes. Specify each creditor,
including this creditor and its relative
priority.

Specified on line 2.1

is the creditor an insider or related party?
- No
l___l Yes

ls anyone else liable on this claim?
l:l No
l Yes. Fl|| out Schea'ur'e H.' Codebtors (Oftic:iai Form 206H)

As of the petition filing date, the claim is:
Check ai| that apply

l:l Cont?ngent
El unttqut'dated
l:i Disputed

 

 

 

 

 

 

 

 

 

 

 

 

 

Of'ficia| Form ZOGD

S°‘“tttc°t*§‘§i"§t§?gt§°-léttb§?LLCDWé“`é?:iS‘TSB'°i”-‘ileo: 01/10/13 Entered: 01/10/13 17:51:28 Page leadC§"§Ba"“l“"‘“y

Creditors Name

P.O. Box 340759
Sacramento, CA 95834

2.3 DFl TEChnOlOgiES, LLC Descrlbe debtor‘s property that is subject to a lien $100,000_0{] $9,500,000_00
Credito"€ Name Residentia| Single Family Residence
126 Atherton Avenue
Atherton, CA 94027
Escrow for Sale Pending subject to
Bankruptcy Court Approvai and Overblct
P.O. BOX 340759 procedures_
Sacrarnento, CA 95834
Creditors mailing address Descrlbe the lien
Fifth Deed of Trust
ls the creditor an insider or related party?
l No
Creditor‘s small address if known l:i ‘(es
ls anyone else liable on this claim?
Date debt was incurred |____[ ND
06!021'20'| 6 l Yes. Fiii out soheouro H; coooororo (ornoioi Form zoeH}
lLast 4 digits of account number
Great Vista Real Estate
Do multiple creditors have an As of the petition filing date, the ciaim is:
interest in the same property? Check all thatapply
ij No i:l Contlrtgent
- Yes. Specity each creditor, ij U"llquldated
including thisl creditor and its relative ij oiopott_-o
priority.
Specified on line 2.1
2_4 |'_‘)F{ Tgchno|ogies, LLC Descrlbe debtor's property that is subject to a lien $57,000.00 $9,500,000.00

 

Residentlel Single Family Residence
126 Atherton Avenue
Atherton, CA 94027

Escrow for Sale Pending subject to
Bankruptcy Court Approvai and Overbld
Procedures.

 

Additiona| Page of Schedule D: Creditors Who Have Claims Secured by Property

page 2 of 5

 

Debtor

Great Vista Real Estate lnvestment Corporatlon

Case number (if ltnow)

 

 

Name

 

Creditor's melting address

Descrlbe the lien
Sixth Deed of Trust

 

 

Creditor's small addressl if known

Date debt was incurred

06!30/2017

Last 4 digits of account number

Great Vista Real Estate

 

Do multiple creditors have an
interest in the same property?

l;lNo

- Yes. Speclfy each creditor,
including this creditor and its relative
priorily.

Specified on line 2.1

 

is the creditor an insider or related party?
l No
l;l Yes

is anyone else liable on this claim?
ij No
- Yes. Fill out Schedul'e H: Codebtors (Otticla| Form ZOBH)

As of the petition filing date, the claim is:
Check ali that apply

ij Coritingent
|Il unliquidated
l:i Dlsputed

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

S°“WiC°€Z“ails‘&):“@ii§?§dii§§iLLbB‘”é“iBtstt'ie'°i-“lleo: 01/10/13 Entered: 01/10/13 17:51:28 Page 17 adic§§

2.5 Hsing -Chieh Shih Descrlbe debtors Property that is Subie¢tt° a lien $400,000.00 $9,500,000.00
CredilOF'S Name Residential Single Family Residence
126 Atherton Avenue
Atherton, CA 94027
Escrow for Sale Pending subject to
27865 FAWl§l CRE=EK CT- Bankruptcy Court Approvai and Overbid
LOS AltOS l'llilS, CA procedures_
94022~2446
Crediiol“s mailing address Descrlbe the lien
3rd Trust Deed
ls the creditor an insider or related party?
jackshihZB@gmail.corn l leo
Creditors email addressl if known i:l Yes
ls anyone else liable on this claim?
Date debt was incurred l:l No
10/21\'2016 - Yes. Fill Out Scheo'ule H.' Codebl‘ors {Offlcial Form 206H)
Last 4 digits of account number `
Great Vista Real Estate
Do multiple creditors have an As of the petition filing date, the claim is:
interest in the same property? Check all that apply
l:l No l:l Contingerii
. Yes, Specify each crediicr, l:l Unllcluldated
including this creditor and its relative l:l Dlsputed
priority
Specified on line 2.1
2_6 Phy[|js Shih Descrlbe debtor's property that is subject to a lien $20(},000.00 $9,500,000.00
Credil°t'S Name Residential Single Family Residence
126 Atherton Avenue
Atherton, CA 94027
Escrow for Sale Pending subject to
_ _ Bankruptcy Court Approvai and Overbid
48900 Ml"mont Drlve Procedures-
Fremont, CA 94538
Creditor's mailing address Descrlbe the lien
Fourth Deed of Trust
ls the creditor an insider or related party?
phyllisshih@gmail.com l NO
Creditors emai| address, `rl known l:l ‘(es
ls anyone else liable on this claim?
Date debt was incurred l:l NO
Ol‘licial Form 206D Additional Page of Schedu|e D: Creditors Who Have Claims Secured by Property page 3 of 5

Bankruptcy

 

Debtor

Narns

5125)'17
Last4 digits of account number
Great Vista Real Estate

Do multiple creditors have an
interest in the same property?

l:lNo

. Yes. Specify each creditor,
including this creditor and its relative
priority.

Specified on line 2.1

Great Vista Reai Estate investment Corporation

 

Case number (ifl<now)

 

- Yes. Fill out Schedule H.' Codebtors (0ft'tcia| Form 206H)

As of the petition filing date, the claim is:
Check all that apply

l___l Contingent
l:l Unliquidated
l:l Disputed

 

 

 

1

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

2.7 Redwood Mortgage PLlVl Descrlbe debtors property tth is subject tv a lien $7,860,087.30 $9,500,000.00
Creditor'§ Name Residentia| Single Family Residence
126 Atherton Aven ue
Athertol‘\, CA 94027
Loan Managem€nt Se"“'ices Escrow for Sale Pending subject to
l“°- Bankruptcy Court Approvai and Overbid
Campbell, CA 95008
Creditor's mailing address Descrlbe the lien
1st Trust Deed
ls the creditor an insider or related party?
l No
Creditor‘s emaii address, ii known m Yes
ls anyone else liable on this claim?
Date debt was incurred i:[ Ng
5120!2016 l Yoo_ Fill out schedule l-l.~ coo'oo:ors (otnoiar Form zoal-l)
Last 4 digits of account number
2885
Do multiple creditors have an As of the petition nling date, the claim is:
interest in the same property? Check all that apply
l:l No El Contingent
l Yes. Specify each creditor, m UnllquldatP-d
including this creditor and its relative i:l Disputed
priority.
Specified on line 2.1
§§ YCJS 2012 LLC Descrlbe debtor's property that is subject to a lien $1,230,000,00 $9,500,[][][],00
Creditor'$ Name Residentia| Single Family Residence
126 Atherton Avenue
Atherton, CA 94027
Escrow for Sale Pending subject to
_ Bankruptcy Court Approvai and Overbicl
13566 Tonl Anne Place procedures_
Saratoga, CA 95070
Creditors mailing address Desc ribe the lien
2nd Trust Deed-Lis Pendens Recorded
09/15/2015
is the creditor an insider or related party?
l:l No
Creditors small address, if known - Yes
ls anyone else liable on this claim?
Date debt was incurred l:] NO
091'1 512016 ' ‘r’es. Fill out Schedule H.' Codebtors {Ofilcial Form ZOEH)
L.ast 4 digits of account number
Great Vista Real Estate
Do multiple creditors have an As of the petition filing date, the claim is:
interest in the same property? Check all that apply
Ofticia| Form 206D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 4 0f5

Bes]L Case Bankruptcy
39

S°"“'a”“`C°EB“§‘B?QT§?§&€§§E§S‘LLCD“€>“&' "‘il“e'°°l?lleo: 01/10/13 Entered: 01/10/13 17:51:28 Page 13 o

 

Debtor Great Vista Real Estate lnvestment Corporation

 

Name
m NO l Contingent
- Yes. Specify each creditor, l Un"quidated
including this creditor and its relative - 1
priority Dlsputed

Specified on line 2.1

Case number {ir!<now)

 

 

 

$10,287,792.

 

3' Tota! of the dollar amounts from Part1, Co|umn A, including the amounts from the Additional Pa_qe, if any. 40

List others to se Notified for a oebcAiready Listed in Part 1

 

 

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,

assignees of ciaims listed above, and attorneys for secured creditors.

lf no others need to notified for the debts !isted in Part1, do not fii| out or submit this page. if additional pages are needed, copy this page.

Name and address

On which line in Part1 did
you enter the related creditor?

 

Benjamin R. Levinson, Esq.
46 N. 2nd Street, Suite A
Campbe!l, CA 95008

Line 2.7

Last 4 digits of
account number for
this entity

 

Law Offices of Richard Wahng
152 Anza Street, Ste. 201
Fremont, CA 94539

Line 2.8

 

PLM Lender Services~Elizabeth Godbey
46 North Second Street
Campbell, CA 95008

Line L__

 

Otficial Form ZOSD Additionai Page of Schedule D: Creditors Who Have Claims Secured by Property

Software Coérighste (c) 1996- 2017 Best ase, L-LC -\Aii.yw. bestcase com
3.8€

18- § DOC# 1 Filed2 01/10/18 Entered2 01/10/18 172 512 28 Page 19 Of3

page 5 of 5

Besi Cas.ge Bankruptcy

 

Fill in this information to identify the case:

 

Debtor name Great Vista Real Estate investment Corporation

United States Bankruptcy Court for the: NORTHERN DlSTRiCT OF CAL|FORN|A

 

Case number (irknown)

 

|:| Check if this is an
amended filing

 

Officia| Form 206E/F
Scheduie ElF: Creditors Who Have Unsecured Claims izns

Be as complete and accurate as possibie. Use Part1 for creditors with PR|OR|TY unsecured claims and Part 2 for creditors with NONPR|OR[TY unsecured ciaims.
List the other party to any executory contracts or unexpired leases that could result in a claim. A|so list executory contracts on Scheduie A/B: Assets - Real and
Personai' Property (Official Form 206Ai'B) and on Schedu!e G.' Executory Contracts and Unexpi'red Leases (Officiai Form ZOBG). Number the entries in Parts 1 and
2 in the boxes on the left. if more space is needed for Part 1 or Part 2, fill out and attach the Addii:ionai Page of that Part included in this form.

 

i_ist Aii creditors with PRioRiTY unsecured claims

1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

l Nu. se to Part 2.

l:l Yes. Go to line 2.

m List Aii creditors with NoNPRioRirY unsecured claims
3. List in alphabetical order all of the creditors with nonpriority unsecured ciaims. if the debtor has more than 6 creditors with nonpriority unsecured claimsl fill

out and attach the Additionai Page of Part 2.

Amount of claim

 

 

Nonpriority creditor‘s name and mailing address As of the petition filing date, the claim is: Check ailihaiappiy. $1.00
Burke, Wiliiams & Sorensen, LLP
Eiizsbeth ivi. Pappy, Esq. 5 Conlmgenf
1503 Grant Road, Suite 200 l unliquidated
Mountain View, CA 94040 ij Disputed
Date(s) debt was incurred M Basis forthe ciaim: Legal FeeS and COS'tS
Last 4 digits of account
number Great Vista Real Estate is the claim subject to offset? l No l:i Yes
Nonpriority creditor‘s name and mailing address As of the petition filing date, the claim is: Check alltnar apply. $359,000.00
Dykema Gossett LLP i:| contingent
333 S. Grand Ave., #2100 i:l unliquidated
Los Angeles, CA 90071 jj Disputed
Date(s) debt was mcurred _2016~2017 Basis forthe claim: Athrney'S FEES
Last 4 digits of account number Great Vista
is the claim subject to offset? . No m Yes
Nonpriority creditor‘s name and mailing address As of the petition filing date, the claim is: Check ailthal.‘apply. $1.00

Law Office of Richard Wahng
152 Anza Street, #201
Fremont, CA 94539

Date(s) debt was incurred 201 5-2017
Last 4 digits of account number Great Vista

- Contingent

l unliquidated

l Disputed

Basis for the ciaim: AttOri‘tey'S FEBS
is the claim subject to offset? |:l No - Yes

 

Nonpriority creditor‘s name and mailing address

Law Offices of George Eshoo
702 lillarshal| Street, #500
Redwood City, CA 94063

Date(s) debt was incurred j

Last 4 digits of account
number Great Vista Real Estate

As of the petition filing date, the claim is: Check allihaiapply.

L_.| Contingent
i:l unliquidated
ij Disputed

Basis forthe claim: _

is the claim subject to oifset? . No |:l Yes

$27'| ,623.93

 

Oiticiai Form 206E1'F
Sofiware C_opyright (o) 1996- 2017 Eest Case, LLC- -.www bestoase. com

Schedu|e ElF: Creditors Who Have Unsecured Claims

CaSe218- 30032 DOC#1 Filed2 01/10/18 Entered2 2051/10/18 172 512 28

page 1 of 2
Besi Case Bankruptcy

Page 20 of 39

 

Debtor Great Vista Real Estate investment Corporation CHS€ number (ifl<nown)

 

 

 

 

Name
Nonpriority creditor‘s name and mailing address As of the petition filing date, the claim is: Check ailiha!apply. $1.00
Nlercedes Benz Financiai Services i Comingem
P.O. Box 685 l U |. ,d t d
Roenoke, Tx 76262 l “ lq“' a 9
Date{s) debt was incurred 2017 D'Sputed
Last 4 digits or account Basis for the claim: Early Termination of Lease ~ Vehicle Surrendered -
number _G_rea_th_t_a__ji'§eaiE_sta;te_ |Viercedes Benz 2016-863V4

is the claim subject to offset? g No - Yes

 

List others to Be Notified About unsecured claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. E)<ampies of entities that may be listed are collection agencies
assignees of claims listed above, and attorneys for unsecured creditors

if no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. lf additional pages are needed, copy the next page.

Name and mailing address On which line in Part1 or Part 2 is the Last 4 digits of
related creditor (if any} listed? account number, if
any

4-1 Dykema Gossett LLP
400 Renaissance Center Line L 1

Detroit, Nll 48243
i_'_i Notiisted E><pleini

 

Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
_ -.`To`tel.o`r claii`n` amounts

 

 

 

 

 

5a. Total claims from Part1 5a. $ ‘ 0_00
5b. Total claims from Part 2 5b. + $ 630’526_93
5c. Total of Parts 1 and 2
Linss ss + 5b = sc. 5a. s 630,626.93
Ofi`lciai Form 206 EiF Schedule Ei'F'. Creditors Who Have Unsecured Claims _ Page 2 of2
Software Copyright (c) 1996»2017 Best Case, LLC ~www.bestcase.com Best Case Bankruptcy

Case: 18-30032 Doc# 1 Filed: 01/10/18 Entered: 01/10/18 17:51:28 Page 21 of 39

 

Fill in this information to identify the case:

Debtor name Great Vista Real Estate investment Corporation

 

United States Bankruptcy Court forthe: NORTHERN DiSTR|CT OF CALIFORN|A

 

Case number (if known)

 

l:| Check ii this is an
amended filing

 

 

Otiiciai Forrn 2066
Scheclu|e G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possibie. if more space is needed, copy and attach the additional page, number the entries consecutivelyl

1. Does the debtor have any executory contracts or unexpired leases?
- No. Check this box and file this form With the debtor's other schedules There is nothing else to report on this form.

ff Yes. Fill in ali of the information below even ifthe contacts of leases are listed on Schedule A/B.' Assets ~ Real and Personal Property
(OfEcia| Form 206AlEl).

2. List ali contracts and unexpired leases State the name and mailing address for all other parties with
whom the debtor has an executory contract or unexpired
lease

2.1 State what the contract or
lease is for and the nature
ot the debtor's interest

State the term remaining

List the contract number of
any government contract

 

 

2.2 State What the contract or
lease is for and the nature
of the debtor's interest

State the term remaining

i_ist the contract number of
any government contract

 

 

2.3 State What the contract or
lease is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

 

 

2.4 State What the contract or
lease is for and the nature
of the debtor's interest

State the term remaining

List the contract number ot
any government contract

 

 

Officia| Form ZOGG Scheduie G: Executory Contracts and Unexpired Leases Page ‘i of1
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Case: 18-30032 Doc# 1 Filed: 01/10/18 Entered: 01/10/18 17:51:28 Page 22 of 39

 

Fill in this information to identify the case:

 

DethF name Great Vista R`eal Estate investment Corporation

 

United States Bankruptcy COL|¥t for the: NORTHERN DlSTRlCT OF CAL[FORNlr'-\

 

Case number {ifi<nown)

 

l:l Check if this is an
amended filing

 

Otficial Form 206i-l .
Schedule H: Your Codebtors 12115

 

Be as complete and accurate as possibfe. if more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

'i. Do you have any codebtors?

l:l No. Check this box and submit this form to the court with the debtor's other schedules Nothing else needs to be reported on this form.
- Yes

2. in Column 1, list as codebtors all of the people or entities who are also liable for any debts iisted by the debtor in the schedules of
creditors, Scheduies D-G. include all guarantors and co-obligors. in Colurnn 2, identify the creditor to whom the debt is owed and each schedule
on which the creditor is listed it the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

Coiumn 1: Codebtor Coiumn 2: Creditor

 

 

 

 

 

Name liiiailing Address Name Check all Scheduies
that apply: -
2.1 Tsai-Luan i-lo 126 Atherton Avenue Burke, Wiiiiams & l;l D
Atherton, CA 94027 Sorensen, LLP - EH: 3_1
l:l G
2.2 Tsai-Luan Ho 126 Atherton Avenue Dykema Gossett LLP El D
Athertol‘l, CA 94027 - E/F 3_2
l___l G
2.3 Tsai~Luan Ho 126 Atherton Avenue Law Office of Richard [.] D
Atherton, CA 94027 Wahng - E/]: 33
l:l G
2.4 Tsai~Luan Ho 126 Atherton Avenue Law Offices of l:l D
Atherton, CA 94027 George Eshoo - E/F 3_4
l:l G
2.5 Tsai~Luan Ho 126 Atherton Avenue N'lercedes Benz l:l D
Atherton, CA 94027 Financiai Services . E/F 3”5
ij G
Official Form 206H Schedule l~l: Your Codebtors Page 1 of 2

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Best Case Bankruptcy

 

Debtor

Great Vista Real Estate investment Corporation

 

Additionai Page to List l\ilore Codebtors

Case number (rrknown;

 

 

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

Coiumn 1.' Codebtor

Column 2: Creditor

Dl=l Technoiogies,

 

 

 

 

 

 

 

2.6 Tsai~Luan Ho 126 Atherton Avenue l D 2_2
Atherton, CA 94027 LLC m EfF
l:i G
2.7 Tsai-Luan Ho 126 Atherton Avenue DFl Technoiogies, l g 2_3
Atherton, CA 94027 LLC m EH:
l:l G
2.8 Tsai-Luan Ho 126 Atherton Avenue DFl Technoiogies, l D 2_4
Atherton, CA 94027 LLC m E/F
l:l G
2.9 Tsai-Luan Ho 126 Atherton Avenue Hsing -Chieh Shih l D 2_5
Atherton, CA 94027 ;_-_| E/F
I:l G
2.10 Tsai-Luan Ho 126 Atherton Avenue Phyl|is Shih l D 2“3
Atherton, CA 94027 m E/F 7
l:i G
2.11 Tsai~Luan Ho 126 Atherton Avenue Redwood iiiiortgage l g 2_7
Atherton, CA 94027 PLN| m E/F
l:i G
2.12 Tsai~Luan Ho 126 Atherton Avenue YCJS 2012 LLC l D 2_3
' 13 c
Ofncial Form 206H Schedu|e H: Your Codebtors Page 2 of 2

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"Fiii"i'n¢thi§'inf6ri'fia'tion'¢t€ide'n'fify'th'ecaséi" " "

Debtor name Great Vista Real Estate investment Corporation

United States Bankruptcy Court forthe: NORTHERN DiSTRlCT OF CAL|FORN|A

 

Case number (ifi<nown)

 

i:| Check if this is an
amended filing

 

Official Form 207
Statement of Financiai Affairs for Non-|nclividua|s Filing for Bankruptcy ama

 

The debtor must answer every question. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known)_

income

1. Gross revenue from business

 

l None.
identify the beginning and ending dates of the debtor's fiscal year, Sources of revenue Gross revenue
which may be a calendar year Check ali that apply (before deductions and

exclusions)
2. Non-business revenue
include revenue regardless of Whetherthat revenue is taxable Non-business income may include interest dividends, money coilected from iawsuits,
and roya§ties. List each source and the gross revenue for each separately Do not include revenue listed in line 1.

- None.

Description of sources of revenue Gross revenue from
each source
(before deductions and
exciusions)

List Certain Transfers ililade Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before fifing this case
i_ist payments or transfer --including expense reimbursements-do any creditor, other than regular employee compensation, within 90 days before
filing this case unless the aggregate vaiue of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4.’01/19
and every 3 years after thatwith respect to cases filed on or after the date of adjustment.)

l None.

Creditor's Name and Address Dates Total amount of value Reasons for payment or transfer
Check ali that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
List payments ortransfersl including expense reimbursementsl made within 1 year before filing this case on debts owed to an insider or guaranteed
or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit ofthe insider is lessrthan $6,425. (This amount
may be adjusted on 4/01/19 and every 3 years after thatwith respect to cases filed on or after the date of adjustment.) Do not include any payments
listed in line 3. insiders include officersl directors and anyone in control of a corporate debtor and their relatives; general partners cf a partnership
debtor and their relatives; affiliates ofthe`debtor and insiders of such afnliates; and any managing agent ofthe debtor. 11 U.S.C. § 101(31).

l None.

insider's name and address Dates Total amount of value Reasons for payment or transfer
Re|ationship to debtor

5. Repossessions, foreclosures, and returns
List all property ofthe debtor that Was obtained by a creditor Within 1 year before fi§ing this case, including property repossessed by a creditor, sold at
a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the Se|fer. Do not include property listed in §ine 6.

Ofiicial Form 207 Statement of Financiai Affairs for Non-lndividuals Filing for Bankruptcy page 1

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fleth Great Vista Reai Estate investment Corporation CBSE number rifknown)

 

 

= None

Creditor's name and address Describe of the Property Date Value of property

6. Setoffs
List any creditor, including a bank or financial institution, that within 90 days before nling this case set off or otherwise took anything from an account
ofthe debtor W§thout permission or refused to make a payment at the debtor's direction from an account of the debtor because the debtor owed a
debt.

- None

Creditor's name and address Description of the action creditor took Date action was Amount
taken

Legai Actions or Assignrnents
7. Legai actions, administrative proceedings, court actions, executions, attachments, or governmental audits

List the legal actionsl proceedingsl investigations arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
in any capacity_within 1 year before filing this case.

- None.
Case title Nature of case Court or agency's name and Status of case
Case number address

8. Assignments and receivership
List any property in the hands of an assignee for the benth of creditors during the 120 days before filing this case and any property in the hands of a
receiver, custodian, or other court-appointed officer within 1 year before filing this case.

- None

Certain Gifts and Charitab|e Contributions

 

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
the gifts to that recipient is less than $1,000

l None

Recipient's name and address Description of the gifts or contributions Dates given Value

m Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

 

l:l None
Description of the property lost and Amount of payments received for the loss Dates of loss Value of property
how the loss occurred lost

if you have received payments to cover the lossl for
example, from insurancel government compensationl or
tort iiabi|ity, list the total received

List unpaid claims on Ofticiai Form fueAiB (Scheduie
A/E.' Assets - Real and Perscrrai Propern/).

Claims for fraud and conversion of None. 2014-2016 $2,714,130.48
over $2,714,130.48 from Benny

James Kirk, 24040 CAN||NO DEL

AV|ON STE A156, DANA PO|NT, CA

92629-4005 from a refinance of the

real property of the Debtor.

 

Certain Payments or Transfers
1 1. Payments related to bankruptcy

Officiai Form 207 Statement of Financiai Affairs for Non-individuais Filing for Bankruptcy page 2

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DebiOV Great Vista Real Estate investment Corporation Case numb€¥ (ifknowni

 

 

List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
ofthis case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuringl seeking bankruptcy
relief, or filing a bankruptcy case.

l:l None.
Who was paid or who received if not money, describe any property transferred Dates Total amount or
the transfer? value
Address
11_1_ 2017:
$20,000.00 -
Pre~Filing
Consuitatio
n and
Pianning
$25,000.00 ~
Chapter 11
Hinds & Shankman, LLP Retainer
21257 Hawthorne Blvd., $1,717_00 _
Second Fioor Chapter 11
Torrance, CA 90503 Filing Fee $46,717.00

 

Ernaii or website address

 

Who made the payment, if not debtor?

 

12. Self-settied trusts of which the debtor is a beneficiary
List any payments or transfers of property made by the debtor or a person acting on behalf of'the debtor Within 10 years before the fiiing of this case
to a self-settled trust or similar device.
Do not include transfers already listed on this statement

 

 

 

 

 

l:l None.

Name of trust or device Describe any property transferred Dates transfers Total amount or
were made value

SJ 10177 LLC to Great Vista Reai 126 Atherton Ave.

Estate investment Corp. Atherton, CA 94027 10!8!2013 $9,500,000.00

Trustee

Great Vista Real Estate investment 126 Atherton Ave.

Corp. to TFKNl Family Trust Atherton, CA 94027 10129[2014 $9,500,000.00

Trustee

TFKliii Family Trust to Great Vist 126 Atherton Ave.

investment Corp. Atherton, CA 94027 3i2ii2016 $9,500,000.00

Trustee

 

13. Transfers not already listed on this statement
List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor Within
2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairsl include
both outright transfers and transfers made as security Do not include gifts ortransfers previously listed on this statement

Official Form 207 Statement of Financiai Affairs for Non~individua|s Filing for Bankruptcy page 3

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Debtor Great Vista Real Estate Investment Corporation Case numbe rffknown)

 

 

- None.
Who received transfer? Description of property transferred or Date transfer Total amount or
Address payments received or debts paid in exchange was made value

Previous Locations

14. Previous addresses
List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

- Does not apply

Address Dates of occupancy
From-To

Hea|th Care Bankruptcies

15. Health Care bankruptcies
[s the debtor primarily engaged in offering services and facilities for:
- diagnosing or treating injury, deformity, or disease, or y
~ providing any surgica|, psychiatric, drug treatment or obstetric oare?

l No. co to Part s.
i:i Yes. Fill in the information below‘

Facility name and address Nature of the business operation, including type of services lf debtor provides meals
the debtor provides and housing, number of
patients in debtor’s care

w Persona||y identifiable information

15. Does the debtor collect and retain personally identifiable information of customers?

- No.
l:i Yes. State the nature of the information collected and retained

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERlSA, 401(k}, 403(b), or other pension or
profit-sharing plan made available by the debtor as an employee benefit?

l No. so to Part zo.
i:i Yes. Does the debtor serve as plan administrator?

m Certain Financiai Accounts, Safe Deposit Boxes, and Storage Units

18. Ciosed financial accounts
V\frthin 1 year before Hling this case, Were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, olosed, sold,
moved, or transferred‘?
include checking, savings, money market, or otherfinancial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
cooperatives, associationsl and other financial institutionsl

- None
Financiai [nstitution name and Last 4 digits of Type of account or Date account was Last balance
Address account number instrument . closed, soid, before closing or
moved, or transfer
transferred

19. Safe deposit boxes
List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have Within 1 year before filing this

case.
Officia| Form 207 Statement of Financiai Affairs for Non-lndividuals Filing for Bankruptcy page 4
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Debtor Great Vista Real Estate investment Corporation CE|S@ number rifknvwnl

 

 

- None

Depository institution name and address Names of anyone with Description of the contents Do you still
access to it have it?
Address

20. Off-premises storage
List any property kept in storage units or warehouses within 1 year before Hiing this case. Do not inciude facilities that are in a part of a building in

which the debtor does business.

l None
Faciiity name and address Names of anyone with Description of the contents Do you still
access to it have it?
Part11: Firoperty the Debtor Holds or Controis That the Debtor Does Not Own
21. Property held for another

List any property that the debtor holds or controls that another entity owns. include any property borrowed from, being stored for, or held in trust. Do
not list leased or rented property.

l None

Part12: Detai|s About Environment information

Forthe purpose of Part 12, the following definitions apply:
Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous materiai, regardless of the
medium affected (alr, |and, water, or any other medium).

Sr'fe means any location, facility, or property, including disposal sites, that the debtor now ownsl operatesl or utilizes or that the debtor formerly
owned, operated, or utilized

Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
similarly harmful substance

Report ali notices, reieases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? include settlements and orders.

l No.

ij Yes. Provide details below.

Case title Court or agency name and Nature of the case Status of case
Case number address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
environmental |aw? '

- No.

i:i Yes. Provide details beiow.

Site name and address Governmental unit name and Environmental iaw, if known Date of notice
address

24. Has the debtor notified any governmental unit of any release of hazardous materia|‘?

l No.

i:i Yes. Provide details below.

Site name and address Governmental unit name and Environmental law, if known Date of notice
address

Part13: Details About the Debtor's Business or Connections to Any Business

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Debtor Great Vista Real Estate investment Corporation CHSB number firmku

 

 

25. Other businesses in which the debtor has or has had an interest
List any business for which the debtor was an owner, partner, member, or otherwise a person in contro§ within 5 years before filing this case.
include this information even if already listed in the Schedu|es. `

- None

Business name address Descrlbe the nature of the business Empioyer identification number
Do not include Social Security number or iTlN.

Dates business existed

26. Books, records, and financial statements .
26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

 

i:l None
Name and address Date of service
From-To

2153-1- Samuel Biggs, CPA 12l2017~now
SingerLewak
10960 Wiishire Bivd., Suite 700
Los Angeles, CA 90024

268.2. Judy Tseng 2009-2016

Super Lab Tax & Accounting Firm
3683 Enochs St
Sunnyvaie, CA 94085

26b. List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial statement
within 2 years before filing this case.

 

l:i None
Name and address Date of service
From-To
26b.1- Samuei Biggs 1212017 - now
SingerLewak
10960 Wiishir'e B[vd., Suite 700
Los Angeles, CA 90024
Name and address Date of service
From-To
265.2- Judy Tseng 2009~2016

Super Lab Tax & Accounting Firm
3683 Enochs St.
Santa C|ara, CA 95051

260. List all firms or individuals who were in possession ofthe debtor's books of account and records when this case is fried.

- None

Name and address if any books of account and records are
unavailabie, explain why

26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
statement within 2 years before filing this case.

i:i None

Name and address

26d.1. Strategic Emerging Economics lnc.
1769 Hidclen Vaiiey
Westlake Viiiage, CA 91361

Official Form 207 Statement of Financiai Affairs for Non-individuais Filing for Bankruptcy page 6

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Debtor Great Vista Real Estate investment Corporation Case number rifrmown)

 

 

l'~.iame and address

2661-2 Redwood Niortgage PLM
Loan Nlanagement Services inc.
46 N. Second Street
Carnpbeii, CA 95008

27. inventories
Have any inventories of the debtor's property been taken within 2 years before filing this case?

l No

i:i Yes. Give the details about the two most recent inventories
Name of the person who supervised the taking of the Date of inventory The dollar amount and basis (cost, market,
inventory or other basis) of each inventory

28. List the debtor's officers, directors, managing members, general partners, members in contro|, controlling shareholders, or other people
in control of the debtor at the time of the filing of this case.

Name Address . Position and nature of any % of interest, if
interest any

Tsai Luan Ho (aka) Sheiby 126 Atherton Ave. CEO 100

Ho Atherton, CA 94027

 

29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

- No
i:i Yes. identify beiow.

30. Payments, distributions, or withdrawals credited or given to insiders
Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
loans, credits on loans, stock redemptions, and options exercised?

- No
i:i Yes. identify beiow.
Name and address of recipient Amount of money or description and value of Dates Reason for
property providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

l No
ii Yes. identify beiow.
Name of the parent corporation Empioyer identification number of the parent
corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsibie for contributing to a pension fund?

- No
i:i Yes. identify below.

Name of the parent corporation Empioyer identification number of the parent
corporation

Part14: Signature and Declaration

WARNING ~~ Bankruptcy fraud is a serious crime. i\/|aking a false statement concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

l have examined the information in this Statement cf Financiai Affar'rs and any attachments and have a reasonable belief that the information is true
Ofticiai Form 207 Statement of Financiai Affairs for dion-individuals Filing for Bankruptcy page 7

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Debtor Great Vista Real Estate investment Corporation Case number rrrrnown)

and correct --

l declare under penalty of perjury that the foregoing is true and correct

 

 

Qite ignan £, 2613
.-- ' Tsai Luan Ho take Shelby Hoi
Signa re cf individuaisign'ing orr behalf of the debtor Printed name

Pos|tlon or relationship to debtor CEO

 

Are additionai pages to Statement of Financiai Affairs for Nen~fndivldoa£s Filing for Bankruptcy {Officlal Form 20`7) attachad‘?

l No

i:i Yes

Offic|ar Form 207 Statement of Financiai Affairs for lion-individuals Filing for Bankruptcy page a
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UN|TED STATES BANKRUPTCY COURT
NORTHERN DiSTRiCT OF CAL|FORN|A

in re Case No.

Great Vista Real Estate investment
Corporation

Debtor(s). l

 

CREDiTOR M_ATRiX COVER SHEET

l declare that the attached Creditor l\/laillng Matrix, consisting of 2 sheets, contains the corroct,
complete and current names and addresses of all priority, Secured and unsecured creditors listed in debtor'S
filing and that this matrix conforms With the Clcrk's promulgated requirements

DATED; January 10, 2018

 

Signa?t;p of Debtor's Attomey or Pro Per Debtdvy/

 

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Benjamin R. Levinson, Esq.
46 N. 2nd Street, Suite A
Campbell, CA 95008

Burke, Williams & Sorensen, LLP
Elizabeth.M. Pappyy Esq.

1503 Grant Road, Suite 200
Mountain View, CA 94040

County of San Mateo Tax Collector
555 County Center
Redwood City, CA 94063

DFI Technologies, LLC
P.O. Box 340759
Sacramento, CA 95834

Dykema Gossett LLP
333 S. GranduAve., #2100
Los Angeles, CA 90071

Dykema Gossett LLP
400 Renaissance Center
Detroit, MI 48243

Hsing -Chieh Shih
27865 FAWN CREEK CT.
Los Altos Hills, CA 94022-2446

Law Office of Richard Wahnq
152 Anza,Street, #201
Fremont, CA 94539

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Law Offices of George Eshoo
702 Marshall Street, #500
Redwood City, CA 94063

Law Offices of Richard,Wahng
152 Anza Street, Ste. 201
Fremont, CA 94539

Mercedes Benz Financiai Services
P.O. Box 685
Roanoke, TX 76262

Phyllis_Shih
48900 Millmont Drive
Fremont, CA 94538

PLM Lender Services-Elizabeth Godbey
46 North,Second Street
Campbell, CA 95008

Redwood Mortqage PLM

Loan Management Services Inc.
46 N. Second Street

Campbell, CA 95008

TsaiwLuan Ho
1261Atherton`Avenue
Atherton, CA 94027

YCJS 2012 LLC
13566 Toni¢Anne Place
Saratoga, CA 95070

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United States Bankruptcy Court
Northerri District of California

 

 

 

 

 

 

Great Vista Real Estate |nvestment Corporation Case No.
Debtor(s) Chapter 11
STATEMENT PURSUANT TO RULE 2016(B)
-' - The undersigned, pursuant to Rule 2016(b), Bankruptcy Rules, states that
l. The undersigned is the attorney for the debtor(s) in this case,
2. The compensation paid or agreed to be paid by the debtor(s), to the undersigned is:
a) For legal services rendered or to be rendered in contemplation of and in
connection with this case $ 25,000.00
b) Prior to the filing of this statement, debtor(s) have paid $ 25»000,00
c) The unpaid balance due and payable is $ 0.00
3. $_1MO_ of the filing fee in this case has been paid.
4. The Services rendered or to be rendered include the following:
a. Analysis of the financial situation, and rendering advice and assistance to the debtor(s) in determining
whether to file a petition under title ll of the United States Code.
b. Preparation and filing of the petition, schedules, statement of affairs and other documents required by the
court.
c. Representation of the debtor(s) at the meeting of creditors
5. The source of payments made by the debtor(s) to the undersigned was from earnings, wages and compensation for
services performed, and
6. ri`he source of payments to be made by the debtor(s) to the undersigned for the unpaid balance remaining, if any,
will be from earnings, wages and compensation for services performed, and
7. The undersigned has received no transfer, assignment or pledge of property from debtor(s) except the following
for the value stated:
8. The undersigned has not shared or agreed to share with any other entity, other than with members of
undersigned's law firm, any compensation paid or to be paid except as follows:
Dated: Janl»lal’y 101 2018 Respect lly submitted,

dam Wi/t

 

HANKMAN, LLP

Attome§f)r Debtor: James Andrew Hinds, Jr. 7}2€2\//
HlNDS

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Best Case Bankruptcy

 

United States Bankruptcy Court
Northern District of Caiifornja

Inr`e` GreatVisté'ReaiEstate|nvestmenf€ofbbrat|on " " " " …`"`"CaséNc.' ` ` `

Debtor(s} Chapter 1 1

LIST OF EQUITY SECURITY HOIDERS

Foliowing is the list cf the Debtor's equity security hoiders which is prepared in accordance with rule 1007(a)(3} for fiiing in this Chapter l 1 Case

 

 

Name and last known address cr place of Security Class Number of Securities Kind oflnterest
business of holder

Tsai~Luan Ho (aka Shelby Ho} Common Stock 100 Shares Common Stoek
126 Atherton Avenue

Atherto n, CA 94027

DECLARATION UNDER PENALTY OF PERJURY ON BEI-IAL]§` OI¢` CORPORATION OR PARTNERSHIP

I, the CEO ofthe corporation named as the debtor in this case, declare under penalty of perjury that I have read the
foregoing List cf Equity Security Holders and that it is true and correct to the best of my information and belief

Date JHHUHWTD, 2015 SignatureQQ‘Z .,., §§

Tsai L'uan Ho {aka She{by l-lo)

Penafgifor making ajirlre statement rif concealing properly Fine of up to $S(}(],UUO or imprisonment for up to 5 years or bnth.
13 U.S.C, §§ 152 011€13571.

Sheet l of l in List oquuity Secmity Holders

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United States Bankruptcy Court
Northern District of California

In re Great Vista Real Estate |nvestment Corporation Case No.

 

Debtor{s) Chapter 1 1

 

CORPORATE OWNERSH]P STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Great Vista Real Estate lnvestment Corporation in the above captioned action,
certifies that the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly
own(s) l()% or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under
FRBP 7007.1:

l None [Check #applfcable]

.ianuary 10, 2018 ' W @WUVWM//¢l

Date Jame§'§ndrew Hinds, Jr. 7"1222
Signature of Attorney or Litigant
Cgungel for Great Vista Real Estate |nvestment Corporation
H|NDS & SHANKMAN, LLP

 

 

 

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In re Great Vista Real Estate investment Corporation

United States Bankruptcy Court
Northern District of California

Case No.

 

,¢

2. Gross Monthly lncome

Debtor(s)

 

Chapter

11

 

BUSINESS INCOME AND EXPENSES

FENANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY lNCLUDE information directly related to the business operation.)
PART A - GROSS BUSINESS INCOME FOR PREVIOUS 12 MONTHSZ

1. Gross Incorne For 12 Months Prior to Filing:

PART B - ESTIMATED AVERAGE FUTURE GROSS MONTHLY lNCOl\/IE:

PART C ~ ESTIMATED FUTURE MONTHLY EXPENSES:
3. Net Empioyee Payroll (Other Than Debtor)

4. Payroll Taxes

5. Uncnrployment Tach
6. Wori<er's Cornpensation
7. Other Taxes

8. Inventory Purchases (Including raw materials)

9. Purchase of FeedJ'Fertilizer/Seed/Spray

§0. Rent (Other than debtor‘s principal residence)

11. Utilities

12. 0ffice Expcnses and Supplies

]3. Repairs and Maintenance

14. Vehicle Expenses

15. Travel and Entertainment

16. Bquipment Rental and Leases
17. Legai/Accounting/Other Professional Fces

lB. Insurance

19. Employee Beneflts (e.g., pension, nredical, etc.}

20. Payrnents to Be Made Directly By Debtor to Secured Creditors Fol' Prc-Petition Business Deth (Specify};

DESCR_IPTION

21. Other (Specify):

DESCRIPTION

22. Total Monthiy Expenses (Add items 3-21}

PART D - EST[MATED AVERAGE NET MONTHLY INCOl\/IE:
23. AVERAGE NE'l` MONTHLY lNCOl\/[E (Subtract item 22 from item 2)

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